08-13555-scc       Doc 61372         Filed 12/07/21 Entered 12/07/21 20:13:18               Main Document
                                                Pg 1 of 13



 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------------- x
                                                                         :   Chapter 11
  In re                                                                  :
                                                                         :   Case No. 08-13555 (SCC)
  LEHMAN BROTHERS HOLDINGS INC., et al.,                                 :
                                                                         :   (Jointly Administered)
                                               Debtors.                  :
                                                                         :   Ref. Docket Nos. 61307,
                                                                         :   61308, 61312, 61316, 61318,
                                                                         :   61321, 61322, 61323, 61329,
                                                                         :   61332, 61342, 61346, 61347,
                                                                         :   61353, 61357, 61358, 61359,
                                                                         :   61360, 61361, 61362, 61363,
  ---------------------------------------------------------------------- x   61364, & 61365


                                         AFFIDAVIT OF SERVICE

 STATE OF CONNECTICUT                     )
                                          ) ss.:
 COUNTY OF MIDDLESEX                      )

 ANGHARAD BOWDLER, being duly sworn, deposes and says:

 1. I am employed as Director of Client Services by Epiq Corporate Restructuring, LLC, with its
    principal office located at 777 Third Avenue, New York, New York 10017. I am over the age
    of eighteen years and am not a party to the above-captioned action.

 2. On December 1, 2021, I caused to be served a customized “Notice: Filing of Transfer of Claim
    Pursuant to Federal Rule of Bankruptcy Procedure 3001(e)(2) or (4),” dated December 1,
    2021, a sample of which is annexed hereto as Exhibit A, by causing true and correct copies to
    be enclosed securely in separate postage pre-paid envelopes and delivered via first class mail
    to those parties listed on the annexed Exhibit B.
08-13555-scc    Doc 61372      Filed 12/07/21 Entered 12/07/21 20:13:18          Main Document
                                          Pg 2 of 13



 3. All envelopes utilized in the service of the foregoing contained the following legend:
    “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
    ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”


                                                                 /s/ Angharad Bowdler
                                                                 Angharad Bowdler
 Sworn to before me this
 7th day of December, 2021
 /s/ Amy E. Lewis
 Notary Public, State of Connecticut
 Acct. No. 100624
 Commission Expires: 8/31/2022
08-13555-scc   Doc 61372   Filed 12/07/21 Entered 12/07/21 20:13:18   Main Document
                                      Pg 3 of 13




                                 EXHIBIT A
           08-13555-scc
 UNITED STATES            Doc 61372
               BANKRUPTCY COURT                                       Filed 12/07/21 Entered 12/07/21 20:13:18                                Main Document
 Southern District of New York                                                   Pg 4 of 13

 In re                                                                                 Chapter 11 Case No.

 LEHMAN BROTHERS HOLDINGS INC., et al.,                                                08-13555 (SCC)

                Debtors.                                                               (Jointly Administered)


                                          NOTICE: FILING OF TRANSFER OF CLAIM PURSUANT TO FEDERAL RULE OF
                                                                 BANKRUPTCY PROCEDURE 3001(e)(2) or (4)
Note: For Purposes of this form,   transferor refers to the claimant who is selling or otherwise assigning its claim. While         transferee refers to the party who is
purchasing or othewise being assigned the claim.

To:           BAR(23) MAILID *** 000202612200 ***                       LBH TRFNTC (MERGE2, TXNUM2) 4000161302




             %"$!)'!#'"#& )" "'#%)#!''!#%& %& " '!)-%& & %& %&$!&)"%& $%"')!1
              BANC OF AMERICA CREDIT PRODUCTS, INC.
              TRANSFEROR: COOPERNEFF MASTER FUND I SEGREGATED PORTFOLIO COMPANY SPC,
              C/O BANK OF AMERICA MERRILL LYNCH
              ATTN: GARY S. COHEN / ANTE JAKIC
              BANK OF AMERICA TOWER - 3RD FLOOR
              ONE BRYANT PARK
              NEW YORK, NY 10036



                                          Please note that your claim # 66515 in the above referenced case and in the amount of
                                 $2,598,644.03 allowed at $2,300,000.00 has been transferred (unless previously expunged by court order)




              HBK MASTER FUND, L.P.
              TRANSFEROR: BANC OF AMERICA CREDIT PRODUCTS, INC.
              C/O HBK SERVICES LLC
              2300 NORTH FIELD ST, STE 2200
              DALLAS, TX 75201




No action is required if you do not object to the transfer of your claim. However IF YOU OBJECT TO THE TRANSFER OF YOUR CLAIM, YOU MUST,
WITHIN 21 DAYS OF THE DATE OF THIS NOTICE, FILE A WRITTEN OBJECTION TO THE TRANSFER WITH:

                                            UNITED STATES BANKRUPTCY COURT
                                            Southern District of New York
                                            One Bowling Green
                                            New York, NY 10004-1408


Send a copy of your objection to the transferee. Refer to INTERNAL CONTROL NUMBER  61332               in your objection. If you file an
objection, a hearing will be scheduled. IF YOUR OBJECTION IS NOT TIMELY FILED, THE TRANSFEREE WILL BE SUBSTITUTED ON OUR RECORDS
AS THE CLAIMANT.

Date: 12/01/2021                                                  Vito Genna, Clerk of Court


                                                                  /s/Andrea Speelman

                                                                  Epiq Corporate Restructuring, LLC
                                                                  as claims agent for the debtor(s).

   FOR EBS USE ONLY:          This notice was mailed to the transferor, transferee, and debtor(s) counsel by first class mail, postage prepaid on December 1, 2021.
08-13555-scc   Doc 61372   Filed 12/07/21 Entered 12/07/21 20:13:18   Main Document
                                      Pg 5 of 13




                                 EXHIBIT B
                                        LEHMAN BROTHERS HOLDINGS INC.
        08-13555-scc         Doc 61372    Filed 12/07/21  Entered 12/07/21 20:13:18
                                                   SERVICE LIST
                                                                                             Main Document
                                                     Pg 6 of 13
Claim Name                               Address Information
BANC OF AMERICA CREDIT PRODUCTS, INC.    TRANSFEROR: STATE STREET BANK AND TRUST COMPANY,, C/O BANK OF AMERICA MERRILL
                                         LYNCH, ATTN: GARY S. COHEN / ANTE JAKIC, BANK OF AMERICA TOWER - 3RD FLOOR,
                                         ONE BRYANT PARK, NEW YORK, NY 10036
BANC OF AMERICA CREDIT PRODUCTS, INC.    TRANSFEROR: STATE STREET BANK AND TRUST COMPANY,, C/O BANK OF AMERICA MERRILL
                                         LYNCH, ATTN: GARY S. COHEN / ANTE JAKIC, BANK OF AMERICA TOWER - 3RD FLOOR,
                                         ONE BRYANT PARK, NEW YORK, NY 10036
BANC OF AMERICA CREDIT PRODUCTS, INC.    TRANSFEROR: SAC ARBITRAGE FUND, LLC, C/O BANK OF AMERICA MERRILL LYNCH; BOA
                                         TOWER, ONE BRYANT PARK 3RD FL; ATTN: GARY S COHEN, ANTE JAKIC, NEW YORK, NY
                                         10036
BANC OF AMERICA CREDIT PRODUCTS, INC.    TRANSFEROR: SAC ARBITRAGE FUND, LLC, C/O BANK OF AMERICA MERRILL LYNCH; BOA
                                         TOWER, ONE BRYANT PARK 3RD FL; ATTN: GARY S COHEN, ANTE JAKIC, NEW YORK, NY
                                         10036
BANC OF AMERICA CREDIT PRODUCTS, INC.    TRANSFEROR: COOPERNEFF MASTER FUND I SEGREGATED PORTFOLIO COMPANY SPC,, C/O
                                         BANK OF AMERICA MERRILL LYNCH, ATTN: GARY S. COHEN / ANTE JAKIC, BANK OF
                                         AMERICA TOWER - 3RD FLOOR, ONE BRYANT PARK, NEW YORK, NY 10036
BANC OF AMERICA CREDIT PRODUCTS, INC.    TRANSFEROR: COOPERNEFF MASTER FUND I SEGREGATED PORTFOLIO COMPANY SPC,, C/O
                                         BANK OF AMERICA MERRILL LYNCH, ATTN: GARY S. COHEN / ANTE JAKIC, BANK OF
                                         AMERICA TOWER - 3RD FLOOR, ONE BRYANT PARK, NEW YORK, NY 10036
BANC OF AMERICA CREDIT PRODUCTS, INC.    TRANSFEROR: GLOBAL STRATEGIC INVESTMENT PARTNERS MASTER LP, C/O BOA MERRILL
                                         LYNCH;A.JAKIC & R.WEDDLE, BANK OF AMER TOWER,3 FL; ONE BRYANT PARK, NEW YORK,
                                         NY 10036
BANC OF AMERICA CREDIT PRODUCTS, INC.    TRANSFEROR: GLOBAL STRATEGIC INVESTMENT PARTNERS MASTER LP, C/O BOA MERRILL
                                         LYNCH;A.JAKIC & R.WEDDLE, BANK OF AMER TOWER,3 FL; ONE BRYANT PARK, NEW YORK,
                                         NY 10036
BANC OF AMERICA CREDIT PRODUCTS, INC.    TRANSFEROR: EMPYREAN INVESTMENTS, LLC, C/O BANK OF AMERICA MERRILL LYNCH,
                                         ATTN: GARY S. COHEN / ANTE JAKIC, BANK OF AMERICA TOWER - 3RD FLOOR, ONE
                                         BRYANT PARK, NEW YORK, NY 10036
BANC OF AMERICA CREDIT PRODUCTS, INC.    TRANSFEROR: EMPYREAN INVESTMENTS, LLC, C/O BANK OF AMERICA MERRILL LYNCH,
                                         ATTN: GARY S. COHEN / ANTE JAKIC, BANK OF AMERICA TOWER - 3RD FLOOR, ONE
                                         BRYANT PARK, NEW YORK, NY 10036
BANKINTER, SA                            ATTN: ANA ISABEL CASUSO ROMERO, PASEO DE LA CASTELLANA, 29, 28046 MADRID
                                         SPAIN
BANKINTER, SA                            ATTN: ANA ISABEL CASUSO ROMERO, PASEO DE LA CASTELLANA, 29, 28046 MADRID
                                         SPAIN
BKM HOLDINGS (CAYMAN) LTD.               TRANSFEROR: LATAJ GROUP, LLC, C/O DAVIDSON KEMPNER-J.DONOVAN, 520 MADISON
                                         AVENUE, 30TH FLOOR, NEW YORK, NY 10022
CITIBANK, N.A.                           ATTN: MARIA ELIZABETH COLL, 601 LEXINGTON AVENUE, 17TH FLOOR, NEW YORK, NY
                                         10022
CITIBANK, N.A.                           PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP, ATTN: DOUGLAS R. DAVIS, 1285
                                         AVENUE OF THE AMERICAS, NEW YORK, NY 10019-6064
CITIBANK, N.A.                           ATTN: KEN SUMMERS, 390 GREENWICH ST 5TH FL, NEW YORK, NY 10013
CITIBANK, N.A. ABN 34 072 814 058        ATTN: JOSIAH LI, 2 PARK STREET, SYDNEY 2000 AUSTRALIA
CITIBANK, N.A. ABN 34 072 814 058        PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP, ATTN: DOUGLAS R. DAVIS, 1285
                                         AVENUE OF THE AMERICAS, NEW YORK, NY 10019
CREDIT SUISSE                            ATTN: PAUL GILMORE, ELEVEN MADISON AVENUE, NEW YORK, NY 10010
CREDIT SUISSE                            CRAVATH, SWAINE & MOORE LLP, ATTN: RICHARD LEVIN, WORLDWIDE PLAZA, 825 EIGHTH
                                         AVENUE, NEW YORK, NY 10019
CREDIT SUISSE                            ATTN: PAUL GILMORE, ELEVEN MADISON AVENUE, NEW YORK, NY 10010
CREDIT SUISSE                            CRAVATH, SWAINE & MOORE LLP, ATTN: RICHARD LEVIN, WORLDWIDE PLAZA, 825 EIGHTH
                                         AVENUE, NEW YORK, NY 10019
CREDIT SUISSE                            ATTN: PAUL GILMORE, ELEVEN MADISON AVENUE, NEW YORK, NY 10010
CREDIT SUISSE                            CRAVATH, SWAINE & MOORE LLP, ATTN: RICHARD LEVIN, WORLDWIDE PLAZA, 825 EIGHTH
                                         AVENUE, NEW YORK, NY 10019
CREDIT SUISSE                            ATTN: PAUL GILMORE, ELEVEN MADISON AVENUE, NEW YORK, NY 10010


Epiq Corporate Restructuring, LLC                                                                         Page 1 OF 8
                                   LEHMAN BROTHERS HOLDINGS INC.
        08-13555-scc       Doc 61372    Filed 12/07/21  Entered 12/07/21 20:13:18
                                                 SERVICE LIST
                                                                                           Main Document
                                                   Pg 7 of 13
Claim Name                             Address Information
CREDIT SUISSE                          CRAVATH, SWAINE & MOORE LLP, ATTN: RICHARD LEVIN, WORLDWIDE PLAZA, 825 EIGHTH
                                       AVENUE, NEW YORK, NY 10019
GROSSKOPF, SUSANN                      TRANSFEROR: UNION BANCAIRE PRIVEE, UBP SA, EHRENBERGER STRASSE 28, 42389
                                       WUPPERTAL GERMANY
HBK MASTER FUND, L.P.                  TRANSFEROR: BANC OF AMERICA CREDIT PRODUCTS, INC., C/O HBK SERVICES LLC, 2300
                                       NORTH FIELD ST, STE 2200, DALLAS, TX 75201
HBK MASTER FUND, L.P.                  TRANSFEROR: BANC OF AMERICA CREDIT PRODUCTS, INC., C/O HBK SERVICES LLC, 2300
                                       NORTH FIELD ST, STE 2200, DALLAS, TX 75201
HBK MASTER FUND, L.P.                  TRANSFEROR: BANC OF AMERICA CREDIT PRODUCTS, INC., C/O HBK SERVICES LLC, 2300
                                       NORTH FIELD ST, STE 2200, DALLAS, TX 75201
HBK MASTER FUND, L.P.                  TRANSFEROR: BANC OF AMERICA CREDIT PRODUCTS, INC., C/O HBK SERVICES LLC, 2300
                                       NORTH FIELD ST, STE 2200, DALLAS, TX 75201
HBK MASTER FUND, L.P.                  TRANSFEROR: BANC OF AMERICA CREDIT PRODUCTS, INC., C/O HBK SERVICES LLC, 2300
                                       NORTH FIELD ST, STE 2200, DALLAS, TX 75201
HBK MASTER FUND, L.P.                  TRANSFEROR: BANC OF AMERICA CREDIT PRODUCTS, INC., C/O HBK SERVICES LLC, 2300
                                       NORTH FIELD ST, STE 2200, DALLAS, TX 75201
HBK MASTER FUND, L.P.                  TRANSFEROR: BANC OF AMERICA CREDIT PRODUCTS, INC., C/O HBK SERVICES LLC, 2300
                                       NORTH FIELD ST, STE 2200, DALLAS, TX 75201
HBK MASTER FUND, L.P.                  TRANSFEROR: BANC OF AMERICA CREDIT PRODUCTS, INC., C/O HBK SERVICES LLC, 2300
                                       NORTH FIELD ST, STE 2200, DALLAS, TX 75201
HBK MASTER FUND, L.P.                  TRANSFEROR: BANC OF AMERICA CREDIT PRODUCTS, INC., C/O HBK SERVICES LLC, 2300
                                       NORTH FIELD ST, STE 2200, DALLAS, TX 75201
HBK MASTER FUND, L.P.                  TRANSFEROR: BANC OF AMERICA CREDIT PRODUCTS, INC., C/O HBK SERVICES LLC, 2300
                                       NORTH FIELD ST, STE 2200, DALLAS, TX 75201
HIJOS DE VICENTE SEVILLA S.L.          TRANSFEROR: BANKINTER, SA, JUAN CARLOS SEVILLA VICEDO, C/ ALMANSA 115-A, 03206
                                       ELCHE ALICANTE SPAIN
HONGKONG AND SHANGHAI BANKING          TRANSFEROR: HSBC PRIVATE BANK (SUISSE) SA, HONG KONG BRANCH, ATTN: RAYMOND NG,
CORPORATION LIMITED, THE               LEVEL 13 & 14, 1 QUEEN'S ROAD CENTRAL, HONG KONG HONG KONG
KIGUTI, PEDRO YUKIO                    TRANSFEROR: CITIBANK, N.A., RUA DAS ARAUCARIAS, 155, CONDOMINIO VALE DO SOL,
                                       TREMEMBE - SAO PAULO, SP BRAZIL
LATAJ GROUP, LLC                       TRANSFEROR: J.P. MORGAN SECURITIES LLC, C/O CHAPMAN AND CUTLER LLP, ATTN:
                                       LARRY HALPERIN, 1270 AVENUE OF THE AMERICAS, 30TH FL., NEW YORK, NY 10020
LEVY, PETER EMANUEL                    TRANSFEROR: CREDIT SUISSE, SCALETTASTRASSE 6, 7270 DAVOS PLATZ   SWITZERLAND
LIN, LE YAO                            TRANSFEROR: HONGKONG AND SHANGHAI BANKING CORPORATION LIMITED, THE, 15 F, NO.
                                       117, QUYUN RD., BANQUIAO DIST., NEW TAIPEI CITY 22065 TAIWAN (R.O.C.)
MULTIPLICITY PARTNERS AG               TRANSFEROR: ST. GALLER KANTONALBANK, BODMERSTRASSE 5, 8002 ZURICH    SWITZERLAND
MULTIPLICITY PARTNERS AG               TRANSFEROR: ST. GALLER KANTONALBANK, BODMERSTRASSE 5, 8002 ZURICH    SWITZERLAND
MULTIPLICITY PARTNERS AG               TRANSFEROR: ST. GALLER KANTONALBANK, BODMERSTRASSE 5, 8002 ZURICH    SWITZERLAND
MULTIPLICITY PARTNERS AG               TRANSFEROR: ST. GALLER KANTONALBANK, BODMERSTRASSE 5, 8002 ZURICH    SWITZERLAND
MULTIPLICITY PARTNERS AG               TRANSFEROR: ST. GALLER KANTONALBANK, BODMERSTRASSE 5, 8002 ZURICH    SWITZERLAND
MULTIPLICITY PARTNERS AG               TRANSFEROR: ST. GALLER KANTONALBANK, BODMERSTRASSE 5, 8002 ZURICH    SWITZERLAND
MULTIPLICITY PARTNERS AG               TRANSFEROR: ST. GALLER KANTONALBANK, BODMERSTRASSE 5, 8002 ZURICH    SWITZERLAND
MULTIPLICITY PARTNERS AG               TRANSFEROR: ST. GALLER KANTONALBANK AG, BODMERSTRASSE 5, 8002 ZURICH
                                       SWITZERLAND
NATIONSTAR MORTGAGE LLC                TRANSFEROR: STRUCTURED ASSET INVEST LN TRUST MTG P/T CERT, ATTN: TERESA
                                       HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC                TRANSFEROR: STRUCTURED ASSET INVEST LN TRUST MTG P/T CERT, ATTN: TERESA
                                       HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC                TRANSFEROR: STRUCTURED ASSET INVEST LN TRUST MTG P/T CERT, ATTN: TERESA
                                       HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC                TRANSFEROR: STRUCTURED ASSET INVEST LN TRUST MTG P/T CERT, ATTN: TERESA
                                       HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC                TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135


Epiq Corporate Restructuring, LLC                                                                          Page 2 OF 8
                                  LEHMAN BROTHERS HOLDINGS INC.
        08-13555-scc      Doc 61372    Filed 12/07/21  Entered 12/07/21 20:13:18
                                                SERVICE LIST
                                                                                           Main Document
                                                  Pg 8 of 13
Claim Name                            Address Information
NATIONSTAR MORTGAGE LLC               RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST COMPANY, AS TRUSTEE, ATTN: TERESA HOWELL, 9135
                                      RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129



Epiq Corporate Restructuring, LLC                                                                      Page 3 OF 8
                                  LEHMAN BROTHERS HOLDINGS INC.
        08-13555-scc      Doc 61372    Filed 12/07/21  Entered 12/07/21 20:13:18
                                                SERVICE LIST
                                                                                          Main Document
                                                  Pg 9 of 13
Claim Name                            Address Information
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                      HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC               TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA



Epiq Corporate Restructuring, LLC                                                                      Page 4 OF 8
                                       LEHMAN BROTHERS HOLDINGS INC.
         08-13555-scc        Doc 61372    Filed 12/07/21  Entered 12/07/21 20:13:18
                                                   SERVICE LIST
                                                                                             Main Document
                                                    Pg 10 of 13
Claim Name                               Address Information
NATIONSTAR MORTGAGE LLC                  HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC                  TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                         HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC                  TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                         HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC                  TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                         HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
NATIONSTAR MORTGAGE LLC                  TRANSFEROR: WILMINGTON TRUST, NATIONAL ASSOCIATION AS TRUSTEE, ATTN: TERESA
                                         HOWELL, 9135 RIDGELINE BLVD, STE 200, HIGHLANDS RANCH, CO 80129
ORTIZ REINA, MANUEL                      TRANSFEROR: BANKINTER, SA, CALLE SANTA TERESA, 16, 5TO PISO, 30005 MURCIA
                                         SPAIN
PACHER PRIVATSTIFTUNG                    TRANSFEROR: CREDIT SUISSE, PRIELSTRASSE 12, A-4600 WELS   AUSTRIA
ST. GALLER KANTONALBANK                  ST. LEONHARDSTRASSE 25, ST. GALLEN CH-9001 SWITZERLAND
ST. GALLER KANTONALBANK                  ST. LEONHARDSTRASSE 25, ST. GALLEN CH-9001 SWITZERLAND
ST. GALLER KANTONALBANK                  ST. LEONHARDSTRASSE 25, ST. GALLEN CH-9001 SWITZERLAND
ST. GALLER KANTONALBANK                  ST. LEONHARDSTRASSE 25, ST. GALLEN CH-9001 SWITZERLAND
ST. GALLER KANTONALBANK                  ST. LEONHARDSTRASSE 25, ST. GALLEN CH-9001 SWITZERLAND
ST. GALLER KANTONALBANK                  ST. LEONHARDSTRASSE 25, ST. GALLEN CH-9001 SWITZERLAND
ST. GALLER KANTONALBANK                  ST. LEONHARDSTRASSE 25, ST. GALLEN CH-9001 SWITZERLAND
ST. GALLER KANTONALBANK AG               TRANSFEROR: NOTENSTEIN PRIVATBANK AG, ST. LEONHARDSTRASSE 25, ST. GALLEN 9001
                                         SWITZERLAND
STRUCTURED ASSET INVEST LN TRUST MTG     SER 2004-3 REMIC I, ATTN: BRAD ZWETZIG, 190 S. LASALLE STREET, MK-IL-SL10,
P/T CERT                                 CHICAGO, IL 60603
STRUCTURED ASSET INVEST LN TRUST MTG     SER 2004-3 REMIC I, ATTN: BRAD ZWETZIG, 190 S. LASALLE STREET, MK-IL-SL10,
P/T CERT                                 CHICAGO, IL 60603
STRUCTURED ASSET INVEST LN TRUST MTG     SER 2004-3 REMIC I, ATTN: BRAD ZWETZIG, 190 S. LASALLE STREET, MK-IL-SL10,
P/T CERT                                 CHICAGO, IL 60603
STRUCTURED ASSET INVEST LN TRUST MTG     SER 2004-3 REMIC I, ATTN: BRAD ZWETZIG, 190 S. LASALLE STREET, MK-IL-SL10,
P/T CERT                                 CHICAGO, IL 60603
SUNNYLAND HOLDINGS PTY LTD.              TRANSFEROR: CITIBANK, N.A. ABN 34 072 814 058, 30 MONASH AVE, BALWYN, VIC 3103
                                         MELBOURNE AUSTRALIA
UBS AG                                   TRANSFEROR: CREDIT SUISSE, ATTN: HUGO KOLLER, BAHNHOFSTR 45, ZURICH 8001
                                         SWITZERLAND
UNION BANCAIRE PRIVEE, UBP SA            TRANSFEROR: RBS COUTTS BANK AG, 96 98 RUE DU RHONE, GENEVA 1211 SWITZERLAND
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2003-35, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2003-35, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2003-35, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2003-35, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2003-35, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2003-35, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH


Epiq Corporate Restructuring, LLC                                                                            Page 5 OF 8
                                         LEHMAN BROTHERS HOLDINGS INC.
        08-13555-scc      Doc 61372        Filed 12/07/21  Entered 12/07/21 20:13:18
                                                    SERVICE LIST
                                                                                             Main Document
                                                     Pg 11 of 13
Claim Name                                Address Information
WILMINGTON TRUST COMPANY, AS TRUSTEE     CERTIFICATES, SERIES 2003-35, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2003-3XS, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2003-3XS, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2003-33H, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2003-33H, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2005-1, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2005-1, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2005-1, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2005-1, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2005-1, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2005-1, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2005-1, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2005-1, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2005-1, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2005-1, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2005-1, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2005-1, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST COMPANY, AS TRUSTEE     FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
                                         CERTIFICATES, SERIES 2005-1, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,


Epiq Corporate Restructuring, LLC                                                                         Page 6 OF 8
                                         LEHMAN BROTHERS HOLDINGS INC.
        08-13555-scc      Doc 61372        Filed 12/07/21  Entered 12/07/21 20:13:18
                                                    SERVICE LIST
                                                                                             Main Document
                                                     Pg 12 of 13
Claim Name                                Address Information
WILMINGTON TRUST, NATIONAL ASSOCIATION   WILMINGTON, DE 19890
AS TRUSTEE TRUST, NATIONAL ASSOCIATION
WILMINGTON                               FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-10, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-15, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-15, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-15, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-15, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890


Epiq Corporate Restructuring, LLC                                                                         Page 7 OF 8
                                         LEHMAN BROTHERS HOLDINGS INC.
        08-13555-scc      Doc 61372        Filed 12/07/21  Entered 12/07/21 20:13:18
                                                    SERVICE LIST
                                                                                             Main Document
                                                     Pg 13 of 13
Claim Name                                Address Information
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-15, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-15, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-15, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-15, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-15, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-15, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-17, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-17, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-17, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-17, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION,, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-17, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-17, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-17, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-17, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WILMINGTON TRUST, NATIONAL ASSOCIATION   FOR STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
AS TRUSTEE                               CERTIFICATES, SERIES 2005-17, ATTN: ADAM SCOZZAFAVA, 1100 N MARKET STREET,
                                         WILMINGTON, DE 19890
WIRZ, EDWIN                              TRANSFEROR: CREDIT SUISSE, SCHWYZERSTR. 5, 8832 WOLLERAU   SWITZERLAND




                               Total Creditor Count 189




Epiq Corporate Restructuring, LLC                                                                          Page 8 OF 8
